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18
                         IN THE UNITED STATES DISTRICT COURT
19
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
20
                                     SOUTHERN DIVISION
21
22      MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
        a Delaware corporation; and            )
23      CERCACOR LABORATORIES, INC.,           )
        a Delaware corporation,                ) PLAINTIFFS’ COMMENTS TO
24                                             ) CIVIL MINUTE ORDER DATED
                 Plaintiffs,                   ) MARCH 16, 2023 (DKT. 1440)
25                                             )
            v.                                 ) Hon. James V. Selna
26                                             )
        APPLE INC., a California corporation, ))
27                                             ) Trial: 4/4/23
                 Defendant.                    )
28                                             )
                       REDACTED VERSION OF DOCUMENT
                      PROPOSED TO BE FILED UNDER SEAL
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1             Masimo Corporation and Cercacor Laboratories, Inc. (collectively “Masimo”)
2       hereby respond to the Court’s March 16, 2023, Request for Comment and attach as
3       Amended Exhibit A Masimo’s proposed minor revisions to the Court’s Proposed
4       Exhibit to the Pretrial Conference Order.1
5             During the Pretrial Conference, Apple complained that Masimo’s Exhibit A did
6       not recite the exact language used in Masimo’s Section 2019.210 Disclosure. See Ex. D,
7       Rough Hr’g Tr. at 30:2-3, 31:16-32:10. That is irrelevant. Masimo’s Section 2019.210
8       Disclosure was a discovery tool. Id. at 30:8-11; see Advanced Modular Sputtering, Inc.
9       v. Superior Ct., 132 Cal. App. 4th 826, 835 (2005) (explaining a Section 2019.210
10      disclosure is a procedural tool that functions like a pleading to dictate the scope of trade
11      secret discovery). The Court suggested the trade secrets should be described using
12      language that would help the jury. See Ex. D, Rough Hr’g Tr. at 32:11-13. As described
13      below, Masimo proposes minor changes to the numbering of the trade secrets and the
14      Court’s proposed description of the Value, Importance, and Appropriateness (“VIA”)
15      trade secret.
16            First, the Court explained that using the original numbering (including gaps) could
17      leave the jury with “an unfair implication that some of the matters asserted weren’t trade
18      secrets.” Ex. D, Rough Hr’g Tr. at 32:21-23. Consistent with the Court’s guidance,
19      Masimo proposes consecutively numbering the trade secrets within each category. To
20      further help the jury identify the trade secrets, Masimo proposes including letters that
21      identify the trade secret categories, e.g., D for                See Amended Ex. A.
22            Second, the Court instructed the parties that the trade secret descriptions should
23      include “only one value trade secret.” Ex. D, Rough Hr’g Tr. at 34:8; see also id. at
24      34:15-20; id. at 32:14-15 (Apple arguing that the value trade secret “shouldn’t be listed
25      multiple times for the jury”). The Court also recognized that, when the jury considers
26      value, it may “consider each of the trade secrets either individually or collectively in
27
        1
         Also attached is Exhibit C, which is a redline comparing Masimo’s Proposed Amended
28      Exhibit A to the Court’s March 16, 2023, proposed list of trade secrets.
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1       determining whether there is value.” Ex. D, Rough Hr’g Tr. at 34:11-13; see also id. at
2       32:11-13 (observing that “some or all of the remaining trade secrets would figure as part
3       of the value of the trade secret.”). Masimo agrees with the Court’s recitation of this
4       language in describing the VIA trade secret because it will help the jury understand the
5       scope of this trade secret.
6                  Masimo proposes a minor modification to the Court’s proposed description of the
7       VIA trade secret. The Court’s proposed description references the “knowledge” trade
8       secrets in the Business Strategies category (i.e., currently numbered B2, B4, and B6),
9       but the VIA trade secret did not previously reference those “knowledge” trade secrets.
10      Accordingly, Masimo proposes language that expressly identifies the trade secrets to
11      which the VIA trade secret has always referred. See Amended Ex. A at 5.
12
13                                                  Respectfully submitted,
14                                                  KNOBBE, MARTENS, OLSON & BEAR, LLP
15
        Dated: March 17, 2023                       By: /s/ Kendall M. Loebbaka
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